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   1 ROBBINS GELLER RUDMAN
      & DOWD LLP
   2 TRAVIS    E. DOWNS III (148274)
     BENNY C. GOODMAN III (211302)
   3 ERIK W. LUEDEKE (249211)
     655 West Broadway, Suite 1900
   4 San Diego, CA 92101
     Telephone: 619/231-1058
   5 619/231-7423 (fax)
           – and –
   6 MARY    K. BLASY
     58 South Service Road, Suite 200
   7 Melville, NY 11747
     Telephone: 631/367-7100
   8 631/367-1173 (fax)
   9 Attorneys for Plaintiff
  10 [Additional counsel appear on signature page.]
  11                       UNITED STATES DISTRICT COURT
  12                      CENTRAL DISTRICT OF CALIFORNIA
  13                              WESTERN DIVISION
  14 CITY OF PONTIAC POLICE AND           )     Case No. 2:21-cv-08498
     FIRE RETIREMENT SYSTEM,              )
  15 Derivatively on Behalf of MATTEL,    )     VERIFIED SHAREHOLDER
     INC.,                                )     DERIVATIVE COMPLAINT FOR
  16                                      )     VIOLATIONS OF THE FEDERAL
                       Plaintiff,         )     SECURITIES LAWS,
  17                                      )     PROFESSIONAL MALPRACTICE,
           vs.                            )     GROSS NEGLIGENCE, UNJUST
  18                                      )     ENRICHMENT AND
     PRICEWATERHOUSECOOPERS LLP )               CONTRIBUTION
  19 and JOSHUA ABRAHAMS,                 )
                                          )
  20                   Defendants,        )
                                          )
  21                                      )
           – and –                        )
  22                                      )
     MATTEL, INC., a Delaware             )
  23 corporation,                         )
                                          )
  24
                       Nominal Defendant. )
                                          )     DEMAND FOR JURY TRIAL
  25
  26
  27
  28
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   1                             JURISDICTION AND VENUE
   2         1.     This Court has jurisdiction under 28 U.S.C. §1331 because the claims
   3 asserted herein arise under §§10(b) and 21D of the Securities Exchange Act of 1934
   4 (the “Exchange Act”), 15 U.S.C. §§78j(b) and 78u-4. This Court has exclusive
   5 subject matter jurisdiction over the federal securities laws claims under §27 of the
   6 Exchange Act, 15 U.S.C. §78aa, and supplemental jurisdiction over the state law
   7 claims asserted herein under 28 U.S.C. §1367.
   8         2.     This Court has jurisdiction over each defendant because each defendant
   9 is either a partnership or corporation that conducts business in and maintains
  10 operations in this District or is an individual who has sufficient minimum contacts
  11 with this District to render the exercise of jurisdiction by the District Courts
  12 permissible under traditional notions of fair play and substantial justice.
  13         3.     Venue is proper in this Court under 28 U.S.C. §1391(a) because:
  14 (i) Mattel maintains its principal place of business in this District; (ii) one or more of
  15 the defendants either resides in or maintains offices in this District; (iii) a substantial
  16 portion of the transactions and wrongs complained of herein, including the
  17 defendants’ primary participation in the wrongful acts detailed herein, occurred in this
  18 District; and (iv) defendants have received substantial compensation in this District by
  19 doing business here and engaging in numerous activities that had an effect in this
  20 District.
  21                                    INTRODUCTION
  22         4.     This is a shareholder derivative action on behalf of nominal defendant
  23 Mattel, Inc. (“Mattel” or the “Company”) against defendants PricewaterhouseCoopers
  24 LLP (“PwC”) and Joshua Abrahams (“Abrahams”) (together, “defendants”) for
  25 violations of the federal securities laws, professional malpractice, gross negligence,
  26 unjust enrichment and contribution. At all relevant times, defendants served as
  27 Mattel’s purportedly independent registered professional accountants.
  28

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   1        5.     To Mattel’s detriment, defendants breached the faith that Mattel placed in
   2 them to audit the Company’s financial statements and internal controls independently
   3 and professionally. Instead, defendants unlawfully schemed to issue materially false
   4 and misleading unqualified audit reports on Mattel’s 2017 and 2018 consolidated
   5 financial statements, which contributed to artificially inflating the trading price of
   6 Mattel common stock on the open market. As 2018 and 2019 unfolded, Mattel
   7 suffered damages, injuries and losses. By this action, plaintiff seeks to vindicate
   8 Mattel’s rights against defendants PwC and Abrahams for their misconduct.
   9        6.     In late 2019, Mattel’s Board of Directors (the “Board”) determined that
  10 defendants PwC’s and Abrahams’ misconduct had injured the Company. However,
  11 they still have not commenced suit against either. Instead, the Board has wrongfully
  12 refused to timely consider plaintiff’s March 3, 2020 Litigation Demand (the
  13 “Demand”) for Mattel to sue defendants for damages and other relief.
  14        7.     Delaware law requires a board of directors of a Delaware corporation to
  15 timely accept or reject a shareholder demand. Deferring a board of directors’ response
  16 to a demand – the course chosen by the Mattel Board here – is not a legal option. The
  17 Board’s wrongful deferral therefore renders this action ripe for prosecution.
  18                           OVERVIEW OF THE ACTION
  19 Mattel Falls on Hard Times
  20        8.     Founded in 1945, Mattel was once one of the world’s leading toy
  21 manufacturers. By early 2017, however, the Company’s business had fallen on hard
  22 times due to shifts in consumer demand towards electronics and on-line entertainment.
  23        9.     For the first quarter of 2017, ended March 31, 2017, Mattel reported an
  24 operating loss of $127 million, leading a Barclays’ securities analyst to exclaim that
  25 “Mattel’s 1Q17 results were surprisingly bad.” For the second quarter of 2017, ended
  26 June 30, 2017, Mattel continued to disappoint as it missed revenue, gross margin and
  27 earnings expectations.
  28

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   1         10.   In September 2017, as rumors of Toys “R” Us’ impending bankruptcy
   2 swirled, securities analysts issued more negative reports on Mattel. For example, on
   3 September 20, 2017, Barclays reported that “[g]iven the potential for lost cash flow,
   4 we believe the Toys R Us bankruptcy filing could be particularly negative for MAT.”
   5         11.   Worse yet, on October 26, 2017, Mattel announced that it was
   6 suspending its quarterly dividend beginning in the fourth quarter of 2017 and
   7 announced a plan to cut $650 million in costs to stabilize its shaky financial condition.
   8 Buffeted by these strong economic headwinds, Mattel’s stock price steadily declined
   9 throughout 2017, falling to $14.00 per share on October 27, 2017 from $30.47 per
  10 share on January 6, 2017, or over 54%.
  11 Mattel’s Sham Third Quarter 2017 Financial Results
  12         12.   On October 26, 2017, Mattel reported its financial results for the third
  13 quarter of 2017, ended September 30, 2017. For the third quarter, the Company
  14 reported a loss of $603 million, driven by a $562 million valuation allowance on
  15 deferred tax assets. Mattel also certified that its internal controls over financial
  16 reporting provided reasonable assurance that Mattel’s financial statements were
  17 correct. However, as defendants learned in October 2017, these statements were
  18 materially false and misleading when made. In fact, Mattel’s loss in the third quarter
  19 of 2017 was materially understated by $109 million and its internal controls were
  20 severely deficient.
  21         13.   More specifically, as Mattel was closing its books for the third quarter of
  22 2017, Mattel’s finance and tax team was attempting to calculate a potentially
  23 significant allowance for its deferred tax assets, under the supervision of defendant
  24 PwC’s lead audit partner, defendant Abrahams. The calculating process itself was
  25 reportedly chaotic. At first, it was determined that Mattel would not record an
  26 allowance against the value of its deferred tax assets. Then, that determination was
  27 reversed, and it was determined that Mattel would record an allowance against the
  28 assets, thus materially reducing their value.

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   1         14.   With approximately a week left in the third quarter closing process,
   2 Mattel’s finance and tax team worked around the clock and calculated a valuation
   3 allowance of approximately $175-$200 million. But then, just days before Mattel’s
   4 financial statements were due to be published, the Mattel team learned that the
   5 allowance had been miscalculated. They apparently had incorrectly reduced the
   6 deferred tax asset by netting them against deferred tax liabilities arising from
   7 intellectual property assets (defined herein as the “HiT IP”) that were classified as
   8 having an “indefinite life,” which was not permissible under accounting rules. In
   9 response, the Mattel team re-calculated the valuation allowance again – this time
  10 arriving at a much higher allowance of $562 million, which, in turn, understated
  11 Mattel’s losses in the third quarter of 2017 by $109 million.
  12 Defendants’ Scheme to Avoid Issuing a Restatement
     or Disclosing Any Known Material Weakness in
  13 Mattel’s Financial Statements
  14         15.   In January 2018, an internal Mattel review of its intangible assets
  15 discovered that because of the way the HiT IP asset had been categorized, it should
  16 not have been used to reduce Mattel’s third quarter 2017 losses. Thereafter, this
  17 material error, along with material defects in Mattel’s internal controls, were brought
  18 to defendants’ attention.
  19         16.   Mattel’s finance and tax team reportedly believed the two material errors
  20 needed to be disclosed. But defendants PwC and Abrahams demurred and, within
  21 days later, had concocted a scheme to conceal the material errors in Mattel’s financial
  22 statements. To this end, the classification of the HiT IP was changed from an
  23 “indefinite-lived” asset to a “finite-lived” asset retroactively as of the start of the
  24 fourth quarter of 2017, on October 1, 2017. By executing this gambit, defendants
  25 PwC and Abrahams buried the material misstatement of Mattel’s third quarter 2017
  26 financial results and hid the severe deficiencies in Mattel’s internal controls.
  27         17.   Over time, defendants’ unlawful scheme – unknown to the Mattel
  28 Board’s Audit Committee – ultimately worked to Mattel’s detriment. For example, as

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   1 2017 and 2018 unfolded, shares of Mattel common stock traded on the market at
   2 prices artificially inflated by defendants’ materially false and misleading unqualified
   3 audit reports.
   4         18.   Ultimately, upon the public disclosure of defendants’ unlawful scheme,
   5 Mattel was named as primary defendant in a costly and expensive-to-defend class
   6 action lawsuit for violations of the federal securities laws. See In re Mattel, Inc. Sec.
   7 Litig., No. 2:19-cv-10860 (C.D. Cal.) (the “Securities Action”). The Company is also
   8 the subject of multiple federal governmental investigations into the facts surrounding
   9 the misconduct complained of herein.
  10 The Truth Emerges
  11         19.   Defendants’ unlawful scheme continued unabated until late 2019. Then,
  12 on October 29, 2019, Mattel disclosed that its financial statements for the periods
  13 ended September 30, 2017 and December 31, 2017 “should no longer be relied upon
  14 due to material misstatements.” According to the Company, an internal “investigation
  15 determined that income tax expense was understated by $109 million in the third
  16 quarter of 2017, and overstated by $109 million in the fourth quarter of 2017.” Mattel
  17 further disclosed material weakness in its internal controls over financial reporting,
  18 stating that the Company
  19         has determined that certain material weaknesses existed as of December
  20         31, 2018 and subsequently, and therefore the Company has concluded
  21         that its internal control over financial reporting as of December 31, 2018
  22         was not effective and that Management’s Report on Internal Control over
  23         Financial Reporting as of December 31, 2018 should also no longer be
  24         relied upon.
  25         20.   A few weeks later, on November 12, 2019, Mattel filed with the U.S.
  26 Securities and Exchange Commission (“SEC”) its restated financials in a Form 10-
  27 K/A, amending the Company’s previously filed 2018 Annual Report filed on Form
  28 10-K (the “Restatement”). The Restatement confirmed that Mattel’s previously

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   1 referenced financial statements “should no longer be relied upon due to material
   2 misstatements,” and restated its financial results as detailed above.
   3         21.   The Restatement further stated that “[m]anagement has concluded that,
   4 due to a material weakness related to the failure to properly design and operate
   5 monitoring control activities, the Company did not maintain effective internal control
   6 over financial reporting as of December 31, 2018,” and that “the Company’s
   7 independent registered public accounting firm [defendant PwC] has restated their
   8 report on the Company’s internal control over financial reporting and issued an
   9 adverse opinion.”
  10 Plaintiff’s Litigation Demand and Rejection
  11         22.   On March 3, 2020, plaintiff wrote to the Mattel Board demanding that the
  12 Board act in relation to the malfeasance by defendants PwC and Abrahams, including
  13 bringing legal proceedings against them. A copy of that letter, the “Demand,” is
  14 attached hereto as Exhibit A.
  15         23.   On April 9, 2020, plaintiff received a letter stating that, rather than
  16 appointing a Special Committee to consider plaintiff’s Demand, or simply filing suit
  17 against defendants PwC and Abrahams, the Mattel Board had determined that
  18 consideration of plaintiff’s Demand should be indefinitely “defer[red]” until the
  19 investigations by the SEC and U.S. Attorney’s Office for the U.S. District Court for
  20 the Southern District of New York (“S.D.N.Y.”) and the Securities Action had been
  21 resolved. The Board responded in this fashion despite that plaintiff’s Demand was
  22 only directed at defendants PwC’s and Abrahams’ unlawful scheme, despite that the
  23 Mattel Board had already investigated defendants PwC’s and Abrahams’ past conduct
  24 and ascertained their malfeasance, and despite that neither the SEC, the U.S.
  25 Attorneys’ Office for the S.D.N.Y. nor the complaint filed in the Securities Action had
  26 sought recovery for Mattel against defendants PwC and Abrahams.
  27         24.   Through a series of additional letters and communications, plaintiff
  28 repeatedly requested that Mattel provide a timeline pursuant to which its Board would

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   1 be willing to investigate these claims and respond to plaintiff’s Demand, but Mattel
   2 refused to do so. The last communication received from the Board’s counsel in
   3 response to plaintiff’s Demand, dated February 8, 2021, stated, in pertinent part, that
   4 in light of the denial of the motions to dismiss filed by defendants in the Securities
   5 Action – including defendant PwC – the Mattel Board had reconsidered the Board’s
   6 response to our client’s litigation demand, though ultimately concluding once again
   7 that it would not be in Mattel’s best interest to even so much as respond to our client’s
   8 demand.
   9         25.   Delaware corporation law requires a board of directors to timely accept
  10 or reject a litigation demand. A board cannot lawfully defer or otherwise ignore its
  11 legal obligation to respond to a shareholder demand. Accordingly, plaintiff brings this
  12 action to protect Mattel’s valuable claims against defendants PWC and Abrahams and
  13 to make Mattel whole for damages and injuries suffered due to defendants’ unlawful
  14 scheme to cover up material misstatements in the Company’s financial results and
  15 material weaknesses in the Company’s internal controls over financial reporting.
  16                                     THE PARTIES
  17         26.   Plaintiff, the City of Pontiac Police and Fire Retirement System, is and
  18 continuously has been, a shareholder of Mattel since January 2016.
  19         27.   Defendant PricewaterhouseCoopers LLP (“PwC”) is Mattel’s
  20 independent registered public accounting firm and has been since 1974. PwC
  21 conducts extensive business in California and maintains offices located at 601 S.
  22 Figueroa Street, Los Angeles, California. Defendant PwC is named as a defendant in
  23 the Securities Action.
  24         28.   Defendant Joshua Abrahams (“Abrahams”) was defendant PwC’s lead
  25 audit partner on the Mattel account from 2009 to 2019. Defendant Abrahams is
  26 named as a defendant in the Securities Action.
  27         29.   Nominal defendant Mattel, Inc. is a Delaware corporation with principal
  28 executive offices located at 333 Continental Boulevard, El Segundo, California.

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   1                     PWC’S DUTIES AND RESPONSIBILITIES
   2         30.    The PCAOB was established by §101 of the Sarbanes-Oxley Act of 2002
   3 (“SOX”), to, among other things, oversee the audit of public companies that are
   4 subject to the securities laws. The PCAOB’s Auditing Standards (“AS”) represent the
   5 rules and guidelines by which an audit of public companies must be planned,
   6 performed and reported on, and are a measure of the audit quality and the objectives to
   7 be achieved in an audit. Auditors have a responsibility to their profession to comply
   8 with the standards accepted by their fellow practitioners. The rules adopted by the
   9 SEC under §404(b) of SOX require issuers who are large, accelerated filers, like
  10 Mattel, to include in annual reports their outside auditor’s attestation as to the
  11 effectiveness of the issuer’s internal control over financial reporting. This attestation
  12 must be made in accordance with the standards for attestation engagements adopted
  13 by the PCAOB.
  14         31.    AS 2201 requires auditors to prepare reports containing an opinion on
  15 internal control over financial reporting and the company’s financial statements, both
  16 of which must be included in the issuer’s Annual Report on Form 10-K. The auditor’s
  17 opinion on internal control over financial reporting must opine as to whether the issuer
  18 maintained, in all material respects, effective internal control over financial reporting
  19 as of the specified date, based on the relevant control criteria.
  20         32.    AS 2201 also requires the outside auditor report to include: (i) a
  21 statement that the audit was conducted in accordance with the standards of the
  22 PCAOB; (ii) a statement that the standards of the PCAOB require the auditor to plan
  23 and perform the audit to obtain reasonable assurance about whether effective internal
  24 control over financial reporting was maintained in all material respects; (iii) a
  25 statement that an audit includes obtaining an understanding of internal control over
  26 financial reporting, assessing the risk that a material weakness exists, testing and
  27 evaluating the design and operating effectiveness of internal control based on the
  28 assessed risk, and performing such other procedures as the auditor considered

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    1 necessary in the circumstances; (iv) a statement that the auditor believes the audit
    2 provides a reasonable basis for the auditor’s opinion; and (v) the auditor’s opinion on
    3 whether the company maintained, in all material respects, effective internal control
    4 over financial reporting, as of the specified date, based on the control criteria.
    5         33.    Under PCAOB AS 2201, if an auditor discovers any material weaknesses
    6 during its audit, the auditor must communicate those material weaknesses to the
    7 company’s audit committee and management. Additionally, if a company’s internal
    8 controls have “one or more material weaknesses, the auditor must express an adverse
    9 opinion on the company’s internal control over financial reporting.”
   10         34.    Although PCAOB AS only require auditors to publish audit reports in
   11 Annual Reports on Form 10-K, AS 4105 nonetheless requires auditors to
   12 communicate significant deficiencies or material weaknesses to the audit committee or
   13 those responsible for oversight of the company’s financial reporting in a timely
   14 manner and before the registrant filing its periodic report with the SEC.
   15         35.    Under PCAOB AS 1015, auditors are required to exercise due
   16 professional care in the planning and performance of the audit and the preparation of
   17 the audit report.      Due professional care imposes a responsibility upon each
   18 professional within an independent auditor’s organization to observe the standards of
   19 field work and reporting.
   20         36.    An audit represents the highest level of assurance an external auditor can
   21 provide to the benefit of potential investors with respect to the reliability of financial
   22 statements when making an informed investment decision. For this reason, the
   23 independence of external auditors is important so that the auditor’s opinion is
   24 impartial, unbiased, and free from any undue influence or conflict of interest to
   25 override the professional judgment of the auditor. Accordingly, PCAOB AS 1005
   26 requires that auditors must maintain “an independence in mental attitude” in all
   27 matters related to an audit. Additionally, AS 1005 states that “[i]ndependent auditors
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    1 should not only be independent in fact; they should avoid situations that may lead
    2 outsiders to doubt their independence.”
    3         37.   Further, AS 1015 states that audit engagement partners should know, at a
    4 minimum, the relevant professional accounting and auditing standards and should be
    5 knowledgeable about the client. The engagement partner is responsible for the
    6 assignment of tasks to, and supervision of, the members of the engagement team.
    7         38.   Pursuant to AS 3101, an auditor should only issue an “unqualified
    8 opinion” when the auditor has “conducted an audit in accordance with the standards of
    9 the [PCAOB] and concludes that the financial statements, taken as a whole, are
   10 presented fairly, in all material respects, in conformity with the applicable financial
   11 reporting framework.” (Footnote omitted.) Thus, an auditor may express an
   12 unqualified audit opinion only when the auditor has formed such an opinion based on
   13 an audit performed in accordance with Generally Accepted Auditing Standards.
   14 Accordingly, when an auditor has failed to conduct its audit in accordance with the
   15 standards established by the PCAOB, it is limited to only expressing a qualified or
   16 adverse opinion, disclaiming its opinion, or issuing no opinion at all.
   17                      DEFENDANTS’ UNLAWFUL SCHEME
   18         39.   By 2017, Mattel – once one of the world’s leading toy manufacturers –
   19 had fallen on economic and financial hard times, as consumer demand continued to
   20 shift toward electronics and on-line entertainment. In the first quarter of 2017, ended
   21 March 31, 2017, the Company reported an operating loss of $127 million, leading one
   22 securities analyst to exclaim that “Mattel’s 1Q17 results were surprisingly bad.” In
   23 the second quarter of 2017, ended June 30, 2017, Mattel continued to disappoint as it
   24 missed revenue, gross margin and earnings expectations.
   25         40.   In September 2017, as rumors of Toys “R” Us’ impending bankruptcy
   26 swirled, securities analysts issued more negative reports on Mattel. For example, on
   27 September 20, 2017, Barclays reported that “[g]iven the potential for lost cash flow,
   28 we believe the Toys R Us bankruptcy filing could be particularly negative for MAT.”

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    1 Worse yet, on October 26, 2017, Mattel announced that it was suspending its quarterly
    2 dividend beginning in the fourth quarter of 2017 and announced a plan to cut $650
    3 million in costs to stabilize its shaky financial condition. Yielding to these headwinds,
    4 Mattel’s stock price steadily declined throughout 2017, falling to $14.00 per share on
    5 October 27, 2017 from $30.47 per share on January 6, 2017, or over 54%.
    6 Mattel’s Sham Third Quarter 2017 Financial Results
    7         41.    On October 26, 2017, Mattel reported its financial results for the third
    8 quarter of 2017, ended September 30, 2017. For the third quarter, the Company
    9 reported a loss of $603 million, driven by a $562 million valuation allowance on
   10 deferred tax assets. Mattel also certified that its internal controls over financial
   11 reporting provided reasonable assurance that Mattel’s financial statements were
   12 correct. However, as defendants learned in October 2017, these statements were
   13 materially false and misleading when made. In fact, Mattel’s loss in the third quarter
   14 of 2017 was materially understated by $109 million and its internal controls were
   15 severely deficient.
   16         42.    More specifically, as Mattel was closing its books for the third quarter of
   17 2017, Mattel’s finance and tax team was attempting to calculate a potentially
   18 significant allowance for its deferred tax assets, under the supervision of defendant
   19 PwC’s lead audit partner, defendant Abrahams. The calculation of this key allowance
   20 was critical since it would represent a reduction in the value of one of Mattel’s largest
   21 assets and would impact some of the Company’s most important financial metrics,
   22 such as net income.
   23         43.    In accounting terms, any valuation allowance would have to be deducted
   24 from Mattel’s income, thus reducing any profit, or increasing any losses for that
   25 quarter. Moreover, the deferred tax asset allowance would have a material impact on
   26 the Company’s financial results and balance sheet since Mattel carried approximately
   27 $580 million in deferred tax assets on its balance sheet as of June 30, 2017.
   28

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    1          44.   The calculating process itself was reportedly chaotic. Initially, Mattel’s
    2 finance and tax team determined that Mattel would not record an allowance against
    3 the value of its deferred tax assets. Then, with approximately one week left in the
    4 closing process, the Mattel team reversed its decision and determined that it was
    5 required to record an allowance against the assets, thus materially reducing their
    6 value.
    7          45.   Mattel’s finance and tax team was then tasked with calculating a potential
    8 half-billion-dollar allowance in less than a week. This critical tax and accounting
    9 determination would normally take several weeks to make, if not longer, yet the
   10 Mattel team was forced to do it in days. The Mattel finance and tax team reportedly
   11 worked around the clock and calculated a valuation allowance of approximately $175-
   12 $200 million, meaning that the assets, and thus Mattel’s net income, would have to be
   13 reduced by that amount.
   14          46.   Just days before Mattel’s financial statements were due to be published,
   15 the Mattel team learned that the allowance had been miscalculated. Apparently, they
   16 had incorrectly reduced the deferred tax assets by netting them against deferred tax
   17 liabilities arising from intellectual property assets, namely HiT IP, that were classified
   18 as having an “indefinite life,” which was not permitted under accounting rules. As a
   19 result, the value of the deferred tax assets had been improperly reduced by several
   20 hundred million dollars, which, in turn, had the effect of improperly reducing the
   21 valuation allowance amount on those assets by a similar amount.
   22          47.   In response, the Mattel team re-calculated the valuation allowance –
   23 again, without adequate time, supporting documentation, or any formal process for
   24 doing so. This time, the Mattel team’s calculation yielded a much higher allowance of
   25 $562 million, which reduced the value of Mattel’s deferred tax assets – and reduced
   26 the Company’s income – by hundreds of millions of dollars more.
   27          48.   Throughout this entire process, defendants PwC and Abrahams were
   28 privy to the wild downward swings in the Company’s third quarter 2017 income in the

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    1 days before they were to be released – first when they reversed course and decided to
    2 record an allowance of approximately $175-$200 million, and then when they decided
    3 to record an allowance of $562 million. Nevertheless, with defendants PwC’s and
    4 Abrahams’ blessing, on October 26, 2017, Mattel published the third quarter 2017
    5 financial results in a Form 10-Q filed with the SEC.
    6 Defendants’ Scheme to Avoid Issuing a Restatement
      or Disclosing Any Known Material Weakness
    7 in Mattel’s Financial Statements
    8         49.    In January 2018, as part of the closing process for the Company’s 2017
    9 year-end results, Mattel’s finance and tax team discovered that Mattel had materially
   10 understated its valuation allowance for the third quarter of 2017 and, in turn, the size
   11 of its reported loss. Specifically, Mattel’s documentation showed that the $311
   12 million HiT IP asset was misclassified. Accordingly, the deferred tax liability that
   13 resulted from the HiT IP, which had been used to reduce the valuation allowance for
   14 the third quarter of 2017, should not have been used to reduce the allowance. The
   15 error reportedly amounted to approximately $109 million.
   16         50.    Subsequently, Mattel’s finance and tax team concluded that the third
   17 quarter 2017 accounting misstatements detailed above had occurred and were
   18 material. As a result, the group determined that Mattel’s third quarter 2017 financial
   19 statements would have to be restated, and that the Company would admit to a material
   20 weakness in its internal controls.
   21         51.    Therefore, Mattel’s finance and tax team informed defendants PwC and
   22 Abrahams of their conclusions. However, defendants PwC and Abrahams demurred
   23 and, within days later, had concocted a scheme to conceal the material errors in
   24 Mattel’s financial statements. To this end, the classification of the HiT IP was
   25 changed from an “indefinite-lived” asset to a “finite-lived” asset retroactively as of the
   26 start of the fourth quarter of 2017, on October 1, 2017. By executing this gambit,
   27 defendants PwC and Abrahams buried the material misstatement of Mattel’s third
   28

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    1 quarter 2017 financial results and hid the severe deficiencies in Mattel’s internal
    2 controls.
    3          52.   Worse yet, despite their knowledge of the material errors Mattel’s
    4 financial statements, defendants deliberately concealed these adverse facts from
    5 Mattel’s Audit Committee.
    6 Defendants’ Materially False and Misleading Statements
    7          53.   On February 27, 2018, defendant PwC issued an unqualified Audit
    8 Report on Mattel’s consolidated financial statements for the year ended December 31,
    9 2017, including the interim periods therein (the “2017 Audit Report”).
   10          54.   At all relevant times during the audit of Mattel’s 2017 financial
   11 statements (“2017 Audit”), defendant Abrahams was PwC’s lead audit partner in
   12 charge of the 2017 Audit. His responsibilities for PwC included conducting the 2017
   13 Audit and preparing the 2017 Audit Report, both in accordance with the applicable
   14 accounting rules.
   15          55.   After completing the 2017 Audit, defendants PwC and Abrahams
   16 authorized the publication of the unqualified 2017 Audit Report. To this end, the
   17 2017 Audit Report accompanied Mattel’s 2017 Annual Report on Form 10-K filed
   18 with the SEC on February 27, 2018.
   19          56.   In the publicly filed 2017 Audit Report, defendants PwC and Abrahams
   20 represented as true several facts material to the accuracy and integrity of the 2017
   21 Audit.      Among other things, defendants represented that the 2017 Audit was
   22 conducted in accordance with the standards of the PCAOB, and, as Mattel’s auditor,
   23 PwC and Abrahams had planned and performed the 2017 Audit in a manner designed
   24 to obtain reasonable assurance that Mattel had maintained effective internal control
   25 over financial reporting in all material respects during fiscal year 2017.
   26          57.   Defendants PwC and Abrahams further represented that the processes
   27 and procedures utilized for the 2017 Audit enabled them to obtain an understanding of
   28 Mattel’s internal controls over financial reporting. Specifically, these auditing

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    1 techniques enabled defendants to: (i) assess the risk that a material weakness exists in
    2 Mattel’s internal controls over financial reporting; (ii) test and evaluate the design and
    3 operating effectiveness of Mattel’s internal controls based on the assessed risk; and
    4 (iii) perform such other procedures as defendants considered necessary in connection
    5 with the 2017 Audit.
    6         58.    Moreover, defendants PwC and Abrahams represented that the 2017
    7 Audit provides a reasonable basis for the auditor’s opinions.             This included
    8 defendants’ audit opinions on the accuracy of Mattel’s financial statements and
    9 effectiveness of Mattel’s financial controls over financial reporting, in all material
   10 respects, based on the control criteria.
   11         59.    Defendants’ specific representations as to the accuracy of Mattel’s 2017
   12 financial statements and the effectiveness of the Company’s internal controls over
   13 financial reporting follow, in relevant part, below:
   14         To the Board of Directors and Stockholders of Mattel, Inc.
   15         Opinions on the Financial Statements and Internal Control over
   16         Financial Reporting
   17                We have audited the accompanying consolidated balance sheets of
   18         Mattel, Inc. and its subsidiaries as of December 31, 2017 and 2016, and
   19         the related consolidated statements of operations, comprehensive
   20         income, cash flows, and stockholders’ equity for each of the three years
   21         in the period ended December 31, 2017, including the related notes and
   22         schedule of valuation and qualifying accounts and allowances for each of
   23         the three years in the period ended December 31, 2017 appearing under
   24         Item 16 (collectively referred to as the “consolidated financial
   25         statements”). We also have audited the Company’s internal control over
   26         financial reporting as of December 31, 2017, based on criteria
   27         established in Internal Control – Integrated Framework (2013) issued by
   28

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    1        the Committee of Sponsoring Organizations of the Treadway
    2        Commission (COSO).
    3              In our opinion, the consolidated financial statements referred to
    4        above present fairly, in all material respects, the financial position of the
    5        Company as of December 31, 2017 and 2016, and the results of its
    6        operations and its cash flows for each of the three years in the period
    7        ended December 31, 2017 in conformity with accounting principles
    8        generally accepted in the United States of America. Also in our opinion,
    9        the Company maintained, in all material respects, effective internal
   10        control over financial reporting as of December 31, 2017, based on
   11        criteria established in Internal Control – Integrated Framework (2013)
   12        issued by the COSO.
   13        Basis for Opinions
   14              The Company’s management is responsible for these consolidated
   15        financial statements, for maintaining effective internal control over
   16        financial reporting, and for its assessment of the effectiveness of internal
   17        control over financial reporting, included in the accompanying
   18        Management’s Report on Internal Control over Financial Reporting. Our
   19        responsibility is to express opinions on the Company’s consolidated
   20        financial statements and on the Company’s internal control over
   21        financial reporting based on our audits. We are a public accounting firm
   22        registered with the Public Company Accounting Oversight Board
   23        (United States) (“PCAOB”) and are required to be independent with
   24        respect to the Company in accordance with the U.S. federal securities
   25        laws and the applicable rules and regulations of the Securities and
   26        Exchange Commission and the PCAOB.
   27              We conducted our audits in accordance with the standards of the
   28        PCAOB. Those standards require that we plan and perform the audits to

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    1        obtain reasonable assurance about whether the consolidated financial
    2        statements are free of material misstatement, whether due to error or
    3        fraud, and whether effective internal control over financial reporting was
    4        maintained in all material respects.
    5               Our audits of the consolidated financial statements included
    6        performing procedures to assess the risks of material misstatement of the
    7        consolidated financial statements, whether due to error or fraud, and
    8        performing procedures that respond to those risks. Such procedures
    9        included examining, on a test basis, evidence regarding the amounts and
   10        disclosures in the consolidated financial statements. Our audits also
   11        included evaluating the accounting principles used and significant
   12        estimates made by management, as well as evaluating the overall
   13        presentation of the consolidated financial statements. Our audit of
   14        internal control over financial reporting included obtaining an
   15        understanding of internal control over financial reporting, assessing the
   16        risk that a material weakness exists, and testing and evaluating the design
   17        and operating effectiveness of internal control based on the assessed risk.
   18        Our audits also included performing such other procedures as we
   19        considered necessary in the circumstances. We believe that our audits
   20        provide a reasonable basis for our opinions.
   21                                      *     *      *
   22        /s/ PricewaterhouseCoopers LLP
   23        Los Angeles, California
   24        February 27, 2018
   25        60.    The statements set forth above were false and misleading when made. As
   26 a threshold matter, it was materially false and misleading for defendants PwC and
   27 Abrahams to state that PwC had conducted an “audit” of Mattel and thereby
   28 determined that its financial statements were accurate, when, during the 2017 Audit,

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    1 defendants PwC and Abrahams orchestrated a plan to avoid disclosing a known
    2 material error.    Defendants PwC and Abrahams were informed of a material
    3 misstatement issued in Mattel’s third quarter financial results by no later than January
    4 2018, and instead of advising Mattel’s Audit Committee to issue a restatement and
    5 disclose the material weaknesses that existed at the time, defendants PwC and
    6 Abrahams designed and executed a plan to avoid issuing a restatement or disclosing
    7 any known existing material weaknesses. Defendants’ conduct in the 2017 Audit
    8 violated PCAOB standards.
    9        61.    Similarly, it was materially false and misleading for defendants PwC and
   10 Abrahams to state that the financial statements in the 2017 Form 10-K fairly presented
   11 the financial position of the Company as of December 31, 2017 and did so “in
   12 conformity with accounting principles generally accepted in the United States of
   13 America.” Contrary to these statements, Mattel has now admitted that its results for
   14 the third and fourth quarters of 2017 were materially misstated in violation of
   15 Generally Accepted Accounting Principles (“GAAP”). Moreover, it was misleading
   16 for defendants PwC and Abrahams to represent that Mattel’s financial statements were
   17 accurate in all material respects when PwC and Abrahams were informed of a material
   18 misstatement in Mattel’s third quarter financial results by January 2018 yet designed
   19 and executed a plan to avoid issuing a restatement or disclosing any known existing
   20 material weaknesses.
   21        62.    Likewise, it was materially false and misleading for defendants PwC and
   22 Abrahams to state that “the Company maintained, in all material respects, effective
   23 internal control over financial reporting as of December 31, 2017, based on criteria
   24 established in Internal Control – Integrated Framework (2013) issued by the COSO.”
   25 Mattel has since admitted that it “determined that there were material weaknesses in
   26 its internal control over financial reporting at the time of the preparation of its
   27 financial statements for the quarters ending on September 30, 2017 and December 31,
   28 2017” related to “the control over the review of the income tax valuation allowance

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    1 analysis” and “monitoring control activities.” Similarly, defendant PwC also restated
    2 its audit opinion for the year ending December 31, 2018, finding that Mattel suffered a
    3 material weakness in its internal controls over financial reporting as of December 31,
    4 2018, that resulted in the third and fourth quarter 2017 reporting errors.
    5        63.    Further, it was materially false and misleading for defendants PwC and
    6 Abrahams to state that PwC had conducted an “audit” of Mattel in accordance with
    7 the standards of the PCAOB, and to describe the purportedly appropriate audit
    8 procedures PwC employed, when defendants PwC and Abrahams devised a scheme
    9 during the 2017 Audit to avoid disclosing a known material misstatement and material
   10 weaknesses. In fact, defendants PwC and Abrahams were informed of a material
   11 misstatement issued in Mattel’s third quarter financial results by January 2018, and
   12 instead of advising Mattel’s Audit Committee to issue a restatement and disclose the
   13 material weaknesses that existed at the time, PwC and Abrahams designed and
   14 executed a plan to avoid issuing a restatement or disclosing any material weaknesses.
   15 Defendants PwC’s and Abrahams’ conduct during the 2017 Audit violated a host of
   16 PCAOB standards.
   17        64.    Further still, contrary to defendants’ representation that PwC was
   18 “independent,” PwC violated the SEC and PCAOB-mandated independence rules. As
   19 Mattel’s Audit Committee would later report, it “concluded that certain actions in
   20 specific HR-related activities by the lead audit partner of Mattel’s outside auditor
   21 [defendant Abrahams], namely providing recommendations on candidates for Mattel’s
   22 senior finance positions, was in violation of the SEC’s auditor independence rules.”
   23 Defendant Abrahams “also provided feedback on senior finance employees.” Among
   24 other things, defendants violated PCAOB Rule 3526, “Communication with Audit
   25 Committees Concerning Independence,” when defendants PwC and Abrahams failed
   26 to alert Mattel’s Audit Committee of PwC’s violations of SEC and PCAOB auditor
   27 independence rules.
   28

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    1          65.   On April 26, 2018, July 25, 2018 and October 25, 2018, Mattel filed with
    2 the SEC its quarterly reports on Form 10-Q for the periods ended March 31, 2018,
    3 June 30, 2018 and September 30, 2018, respectively. Each of the Forms 10-Q
    4 contained essentially the same materially false and misleading evaluations of the
    5 Company’s internal control over financial reporting as set forth above.
    6          66.   On February 22, 2019, defendant PwC issued an unqualified Audit
    7 Report on Mattel’s consolidated financial statements for the year ended December 31,
    8 2018, including the interim periods therein (the “2018 Audit Report”). At all relevant
    9 times during the audit of Mattel’s 2018 financial statements (“2018 Audit”), defendant
   10 Abrahams was PwC’s lead audit partner in charge of the 2018 Audit.                    His
   11 responsibilities for PwC included conducting the 2018 Audit and preparing the 2018
   12 Audit Report, both in accordance with the applicable accounting rules.
   13          67.   After completing the 2018 Audit, defendants PwC and Abrahams
   14 authorized the publication of the unqualified 2018 Audit Report. To this end, the
   15 2018 Audit Report accompanied Mattel’s 2018 Annual Report on Form 10-K filed
   16 with the SEC on February 22, 2019.
   17          68.   In the publicly filed 2018 Audit Report, defendants PwC and Abrahams
   18 represented as true several facts material to the accuracy and integrity of the 2018
   19 Audit.     Among other things, defendants represented that the 2018 Audit was
   20 conducted in accordance with the standards of the PCAOB, and, as Mattel’s auditor,
   21 PwC and Abrahams had planned and performed the 2018 Audit in a manner designed
   22 to obtain reasonable assurance that Mattel had maintained effective internal control
   23 over financial reporting in all material respects during fiscal year 2018.
   24          69.   Defendants PwC and Abrahams further represented that the processes
   25 and procedures utilized for the 2018 Audit enabled them to obtain an understanding of
   26 Mattel’s internal controls over financial reporting. Specifically, these auditing
   27 techniques enabled defendants to: (i) assess the risk that a material weakness exists in
   28 Mattel’s internal controls over financial reporting; (ii) test and evaluate the design and

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    1 operating effectiveness of Mattel’s internal controls based on the assessed risk; and
    2 (iii) perform such other procedures as defendants considered necessary in connection
    3 with the 2018 Audit.
    4        70.    Moreover, defendants PwC and Abrahams represented that the 2018
    5 Audit provides a reasonable basis for the auditor’s opinions.          This included
    6 defendants’ audit opinions on the accuracy of Mattel’s financial statements and
    7 effectiveness of Mattel’s financial controls over financial reporting, in all material
    8 respects, based on the control criteria.
    9        71.    Defendants’ specific representations as to the accuracy of Mattel’s
   10 statements and the effectiveness of the Company’s internal controls over financial
   11 reporting follow, in relevant part, below:
   12        To the Board of Directors and Stockholders of Mattel, Inc.
   13        Opinions on the Financial Statements and Internal Control over
   14        Financial Reporting
   15               We have audited the accompanying consolidated balance sheets of
   16        Mattel, Inc. and its subsidiaries (the “Company”) as of December 31,
   17        2018 and 2017, and the related consolidated statements of operations,
   18        comprehensive (loss) income, stockholders’ equity and cash flows for
   19        each of the three years in the period ended December 31, 2018, including
   20        the related notes and schedule of valuation and qualifying accounts and
   21        allowances for each of the three years in the period ended December 31,
   22        2018 appearing under Item 16 (collectively referred to as the
   23        “consolidated financial statements”).        We also have audited the
   24        Company’s internal control over financial reporting as of December 31,
   25        2018, based on criteria established in Internal Control – Integrated
   26        Framework (2013) issued by the Committee of Sponsoring
   27        Organizations of the Treadway Commission (COSO).
   28

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    1              In our opinion, the consolidated financial statements referred to
    2        above present fairly, in all material respects, the financial position of the
    3        Company as of December 31, 2018 and 2017, and the results of its
    4        operations and its cash flows for each of the three years in the period
    5        ended December 31, 2018 in conformity with accounting principles
    6        generally accepted in the United States of America. Also in our opinion,
    7        the Company maintained, in all material respects, effective internal
    8        control over financial reporting as of December 31, 2018, based on
    9        criteria established in Internal Control – Integrated Framework (2013)
   10        issued by the COSO.
   11        Basis for Opinions
   12              The Company’s management is responsible for these consolidated
   13        financial statements, for maintaining effective internal control over
   14        financial reporting, and for its assessment of the effectiveness of internal
   15        control over financial reporting, included in the accompanying
   16        Management’s Report on Internal Control over Financial Reporting. Our
   17        responsibility is to express opinions on the Company’s consolidated
   18        financial statements and on the Company’s internal control over
   19        financial reporting based on our audits. We are a public accounting firm
   20        registered with the Public Company Accounting Oversight Board
   21        (United States) (“PCAOB”) and are required to be independent with
   22        respect to the Company in accordance with the U.S. federal securities
   23        laws and the applicable rules and regulations of the Securities and
   24        Exchange Commission and the PCAOB.
   25              We conducted our audits in accordance with the standards of the
   26        PCAOB. Those standards require that we plan and perform the audits to
   27        obtain reasonable assurance about whether the consolidated financial
   28        statements are free of material misstatement, whether due to error or

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    1        fraud, and whether effective internal control over financial reporting was
    2        maintained in all material respects.
    3               Our audits of the consolidated financial statements included
    4        performing procedures to assess the risks of material misstatement of the
    5        consolidated financial statements, whether due to error or fraud, and
    6        performing procedures that respond to those risks. Such procedures
    7        included examining, on a test basis, evidence regarding the amounts and
    8        disclosures in the consolidated financial statements. Our audits also
    9        included evaluating the accounting principles used and significant
   10        estimates made by management, as well as evaluating the overall
   11        presentation of the consolidated financial statements. Our audit of
   12        internal control over financial reporting included obtaining an
   13        understanding of internal control over financial reporting, assessing the
   14        risk that a material weakness exists, and testing and evaluating the design
   15        and operating effectiveness of internal control based on the assessed risk.
   16        Our audits also included performing such other procedures as we
   17        considered necessary in the circumstances. We believe that our audits
   18        provide a reasonable basis for our opinions.
   19                                      *     *      *
   20        /s/ PricewaterhouseCoopers LLP
   21        Los Angeles, California
   22        February 22, 2019
   23        72.    The statements set forth above were false and misleading when made. As
   24 a threshold matter, it was materially false and misleading for defendants PwC and
   25 Abrahams to state that PwC had conducted an “audit” of Mattel and thereby
   26 determined that its 2017 and 2018 financial statements were accurate, when during its
   27 2017 Audit, defendants PwC and Abrahams devised a scheme to avoid disclosing a
   28 known material error, and PwC’s audit violated PCAOB standards in numerous

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    1 respects. Moreover, defendants PwC and Abrahams were informed of a material
    2 misstatement issued in Mattel’s third quarter financial results by January 2018, and
    3 instead of advising Mattel’s Audit Committee to issue a restatement and disclose the
    4 material weaknesses that existed at the time, defendants PwC and Abrahams designed
    5 and executed a plan to avoid issuing a restatement or disclosing any known existing
    6 material weaknesses.
    7         73.   Similarly, it was materially false and misleading for defendants PwC and
    8 Abrahams to state that the financial statements in the 2018 Form 10-K fairly
    9 represented the financial position of the Company as of December 31, 2018 and did so
   10 “in conformity with accounting principles generally accepted in the United States of
   11 America.” Contrary to these statements, Mattel has now admitted that its results for
   12 the third and fourth quarters of 2017 were materially misstated in violation of GAAP.
   13 Moreover, it was misleading for defendants PwC and Abrahams to represent that
   14 Mattel’s financial statements were accurate in all material respects when PwC and
   15 Abrahams were informed of a material misstatement in Mattel’s third quarter financial
   16 results by January 2018 yet designed and executed a plan to avoid issuing a
   17 restatement or disclosing any known existing material weaknesses.
   18         74.   Likewise, it was materially false and misleading for defendants PwC and
   19 Abrahams to state that Mattel “maintained, in all material respects, effective internal
   20 control over financial reporting as of December 31, 2018, based on criteria established
   21 in Internal Control – Integrated Framework (2013) issued by the COSO.” Mattel has
   22 since admitted that it “determined that there were material weaknesses in its internal
   23 control over financial reporting at the time of the preparation of its financial
   24 statements for the quarters ending on September 30, 2017 and December 31, 2017”
   25 related to “the control over the review of the income tax valuation allowance
   26 analysis.”
   27         75.   Mattel has also admitted that, as of yearend 2017 and 2018, its disclosure
   28 controls were severely deficient, and did not provide reasonable assurance that the

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    1 information required to be disclosed by Mattel in its SEC filings was collected,
    2 communicated, and properly reported in Mattel’s SEC filings. As Mattel would later
    3 admit, these “material weaknesses . . . existed at the time of the preparation of our
    4 financial statements for the third and fourth quarters of 2017.” As Mattel would later
    5 specify, its disclosure controls and procedures were materially deficient precisely
    6 because they did not ensure that the material errors in its third quarter 2017 financial
    7 statements were “properly assessed” or that “findings and conclusions [were]
    8 documented” or that the errors were reported to the Audit Committee or “disclosed in
    9 the 2017 10-K.” Mattel further admitted that its “material weakness related to a
   10 deficiency in monitoring control activities” “still existed as of December 31, 2018.”
   11 Similarly, defendant PwC also restated its audit opinion for the year ending December
   12 31, 2018 for the same reasons.
   13        76.    Additionally, it was materially false and misleading for defendants PwC
   14 and Abrahams to state that PwC had conducted an “audit” of Mattel in accordance
   15 with the standards of the PCAOB, and to describe the purportedly appropriate audit
   16 procedures it employed, when defendants PwC and Abrahams devised a scheme
   17 during the 2017 Audit to avoid disclosing a known material misstatement and material
   18 weaknesses. In fact, defendants PwC and Abrahams were informed of a material
   19 misstatement issued in Mattel’s third quarter financial results by January 2018, and
   20 instead of advising Mattel’s Audit Committee to issue a restatement and disclose the
   21 material weaknesses that existed at the time, defendants PwC and Abrahams designed
   22 and executed a plan to avoid issuing a restatement or disclosing any material
   23 weaknesses. Defendants PwC’s and Abrahams’ conduct violated a host of PCAOB
   24 standards.
   25        77.    Further, contrary to defendants’ representation that PwC was
   26 “independent,” PwC violated the SEC and PCAOB-mandated independence rules. As
   27 Mattel’s Audit Committee would later report, it “concluded that certain actions in
   28 specific HR-related activities by the lead audit partner of Mattel’s outside auditor

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    1 [defendant Abrahams], namely providing recommendations on candidates for Mattel’s
    2 senior finance positions, was in violation of the SEC’s auditor independence rules. He
    3 also provided feedback on senior finance employees.”
    4         78.    Among other things, defendants PwC and Abrahams violated PCAOB
    5 Rule 3526, “Communication with Audit Committees Concerning Independence,”
    6 when PwC failed to alert Mattel’s Audit Committee of PwC’s violations of SEC and
    7 PCAOB auditor independence rules.
    8 The Truth Emerges
    9         79.    Defendants’ unlawful scheme continued unabated until late 2019. Then,
   10 on October 29, 2019, Mattel revealed that its financial statements for the periods
   11 ended September 30, 2017 and December 31, 2017 “should no longer be relied upon
   12 due to material misstatements,” and that the Company would be restating its financial
   13 results in its third quarter 2017 Form 10-Q and 2017 Annual Report on Form 10-K.
   14 The October 29, 2019 Form 8-K report explained that the Company’s “investigation
   15 determined that income tax expense was understated by $109 million in the third
   16 quarter of 2017 and overstated by $109 million in the fourth quarter of 2017.”
   17         80.    The Form 8-K further explained that the “Audit Committee’s
   18 investigation found errors in publicly-filed Mattel financial statements for the last two
   19 quarters of 2017, failures to properly consider and disclose such errors to the . . . Audit
   20 Committee [and other Mattel officials] once they became known, and violations of
   21 auditor independence rules,” stating:
   22         Mattel’s management identified the third quarter 2017 accounting error
   23         associated with its tax valuation allowance during its year-end
   24         accounting closing procedures for the quarter ended December 31, 2017.
   25         The error was not properly assessed nor were findings and conclusions
   26         documented. The error was not reported to Mattel’s then-CEO, Margaret
   27         Georgiadis, and the Audit Committee, and was also not disclosed in the
   28         2017 10-K. The investigation revealed that a confluence of one-time

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    1         events, management’s reliance on the accounting advice sought and
    2         received on the error from the lead audit engagement partner of Mattel’s
    3         outside auditor, and lapses in judgment by management contributed to
    4         these failures.
    5         81.   Mattel also revealed on October 29, 2019 that “the Company has
    6 concluded that its internal control over financial reporting as of December 31, 2018
    7 was not effective and that Management’s Report on Internal Control over Financial
    8 Reporting as of December 31, 2018 should also no longer be relied upon.”
    9 Additionally, Mattel disclosed that the Audit Committee determined that defendant
   10 Abrahams was in violation of the SEC’s auditor independence rules, stating:
   11         [T]he Audit Committee’s investigation and a separate investigation by
   12         Mattel’s outside auditor concluded that certain actions in specific HR-
   13         related activities by the lead audit partner of Mattel’s outside auditor,
   14         namely providing recommendations on candidates for Mattel’s senior
   15         finance positions, was in violation of the SEC’s auditor independence
   16         rules. He also provided feedback on senior finance employees.
   17         82.   A few weeks later, on November 12, 2019, Mattel filed with the SEC its
   18 Restatement in a Form 10-K/A, amending the Company’s previously filed 2018
   19 Annual Report filed on Form 10-K. The Restatement stated that Mattel’s financial
   20 statements “should no longer be relied upon due to material misstatements,” and
   21 restated its financial results as detailed above.
   22         83.   The Restatement further stated that “[m]anagement has concluded that,
   23 due to a material weakness related to the failure to properly design and operate
   24 monitoring control activities, the Company did not maintain effective internal control
   25 over financial reporting as of December 31, 2018, and that “the Company’s
   26 independent registered public accounting firm [defendant PwC] has restated their
   27 report on the Company’s internal control over financial reporting and issued an
   28 adverse opinion.”

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    1                               DAMAGES TO MATTEL
    2         84.    Mattel has suffered, and will continue to suffer, damages, injuries and
    3 losses due to defendants’ misconduct. For example, Mattel has incurred millions in
    4 costs, expenses, and fees in connection with internal and external investigations.
    5 Moreover, Mattel is now a primary named defendant the Securities Action brought by
    6 Mattel shareholders to recover damages for violations of the federal securities laws.
    7 On January 26, 2021, the U.S. District Court for the Central District of California
    8 denied the motions to dismiss the Securities Action, finding that the shareholder
    9 plaintiffs sufficiently alleged claims of securities fraud against Mattel and its co-
   10 defendants, including the named defendants in this action, defendants PwC and
   11 Abrahams.
   12                      THE MATTEL BOARD’S DISDAIN FOR
                            PLAINTIFF’S LITIGATION DEMAND
   13
              85.    Plaintiff incorporates ¶¶1-84.
   14
              86.    On March 3, 2020, plaintiff wrote to the Mattel Board demanding that the
   15
        Board act in relation to the malfeasance by defendants PwC and Abrahams, including
   16
        bringing legal proceedings against them. See Exhibit A.
   17
              87.    On April 9, 2020, plaintiff received a letter stating that, rather than
   18
        appointing a Special Committee to consider plaintiff’s Demand, or simply filing suit
   19
        against defendants PwC and Abrahams, the Mattel Board had determined that
   20
        consideration of plaintiff’s Demand should be indefinitely “defer[red]” until the
   21
        investigations by the SEC and U.S. Attorney’s Office for the S.D.N.Y. and the
   22
        Securities Action had been resolved. The Board responded in this fashion despite that
   23
        plaintiff’s Demand was only directed at defendants PwC’s and Abrahams’ unlawful
   24
        scheme, despite that the Mattel Board had already investigated defendants PwC’s and
   25
        Abrahams’ past conduct and ascertained their malfeasance, and despite that neither the
   26
        SEC, the U.S. Attorneys’ Office for the S.D.N.Y. nor the complaint filed in the
   27
   28

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    1 Securities Action had sought recovery for Mattel against defendants PwC and
    2 Abrahams.
    3         88.    Through a series of additional letters and communications, plaintiff
    4 repeatedly requested that Mattel provide a timeline pursuant to which its Board would
    5 be willing to investigate these claims and respond to plaintiff’s Demand, but Mattel
    6 refused to do so. The last communication received from the Board’s counsel in
    7 response to plaintiff’s Demand, dated February 8, 2021, stated, in pertinent part, that
    8 in light of the denial of the motions to dismiss filed by defendants in the Securities
    9 Action – including defendant PwC – the Mattel Board had reconsidered the Board’s
   10 response to our client’s litigation demand, though ultimately concluding once again
   11 that it would not be in Mattel’s best interest to even so much as respond to our client’s
   12 demand.
   13         89.    Delaware corporation law requires a board of directors to timely accept
   14 or reject a litigation demand. A board cannot lawfully defer or otherwise ignore its
   15 legal obligation to respond to a shareholder demand. Accordingly, plaintiff brings this
   16 action to protect Mattel’s valuable claims against defendants PWC and Abrahams and
   17 to make Mattel whole for damages and injuries suffered due to defendants’ unlawful
   18 scheme to cover up material misstatements in the Company’s financial results and
   19 material weaknesses in the Company’s internal controls over financial reporting.
   20                                         COUNT I
   21                       (Against Defendants PwC and Abrahams
                     for Violations of §§10(b) and 21D of the Exchange Act)
   22
              90.    Plaintiff incorporates ¶¶1-89.
   23
              91.    Mattel is named as a defendant in the Securities Action, which asserts
   24
        claims under the federal securities laws for, among other things, violation of §10(b) of
   25
        the Exchange Act. The Company’s liability in the Securities Action will arise, in
   26
        whole or in part, from the intentional, knowing, or reckless acts or omissions of
   27
        defendants PwC and/or Abrahams, as alleged herein. The Company is entitled to
   28

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    1 receive contribution from those defendants in connection with the Securities Action
    2 against the Company.
    3         92.    Defendants PwC and Abrahams had the power and/or ability to, and did,
    4 directly or indirectly control or influence PwC’s audit reports on the Company’s
    5 financial statements and results and disclosures about the Company’s internal controls
    6 over financial reporting and had the power and/or ability directly or indirectly to
    7 control or influence the specific statements and conduct that has exposed Mattel to
    8 liability for violations of the federal securities laws.
    9         93.    Accordingly, Mattel is entitled to all appropriate contribution from
   10 defendants PwC and Abrahams under §§10(b) and 21D of the Exchange Act, 15
   11 U.S.C. §§78j(b) and 78u-4, which govern the application of any private right of action
   12 for contribution asserted pursuant to the Exchange Act.
   13                                        COUNT II
   14                       (Against Defendants PwC and Abrahams
                    for Professional Negligence and Accounting Malpractice)
   15
              94.    Plaintiff incorporates ¶¶1-89.
   16
              95.    Defendants PwC and Abrahams issued, and/or caused to be issued,
   17
        unqualified opinions on Mattel’s financial statements, signifying that they had audited
   18
        such statements and found them to be compliant with GAAP. PwC and Abrahams
   19
        allowed Mattel to disseminate these unqualified opinions publicly in connection with
   20
        their filing of Mattel’s Annual Reports on Form 10-K.
   21
              96.    A reasonably competent auditor would conduct its audits in compliance
   22
        with GAAP and PCAOB AS, as described above. Such audits would be designed to
   23
        detect improper accounting of deferred tax asset valuation allowances. Defendants
   24
        PwC and Abrahams were required to act with reasonable care, diligence and
   25
        competence, and to exercise independent thought and judgment in acting as an
   26
        independent auditor.
   27
   28

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    1            97.   Defendants PwC and Abrahams failed to meet the standard of a
    2 reasonably competent auditor in their audits of Mattel’s financial statements filed with
    3 the SEC. Defendants PwC and Abrahams rendered unqualified opinions despite their
    4 awareness, or recklessness in not being aware, that they were false when issued.
    5 Contrary to their public representations, defendants’ audits of Mattel failed utterly to
    6 comply with PCAOB AS and Generally Accepted Auditing Standards, and Mattel’s
    7 financial statements violated GAAP as well as SEC rules.
    8            98.   While performing their audits, defendants PwC and Abrahams received
    9 information demonstrating that, as set forth in detail herein, Mattel’s financial
   10 statements were fraught with improprieties.
   11            99.   As a result of defendants’ improper actions and/or inactions, defendants
   12 PwC and Abrahams knew, were grossly negligent or were negligent in not knowing
   13 the material undisclosed adverse information about Mattel’s financial statements in
   14 the Company’s 2017 and 2018 Annual Reports on Form 10-K.
   15            100. Foreseeably, Mattel relied on the services and statements provided by
   16 defendants PwC and Abrahams. As a direct and proximate result, Mattel was
   17 damaged thereby.
   18                                         COUNT III
   19                         (Against Defendants PwC and Abrahams
                                       for Gross Negligence)
   20
                 101. Plaintiff incorporates ¶¶1-89.
   21
                 102. The misconduct of defendants PwC and Abrahams detailed herein above
   22
        constitutes gross negligence.
   23
                 103. As a direct and proximate result of defendants PwC’s and Abrahams’
   24
        gross negligence, Mattel sustained significant damages in an amount to be proven at
   25
        trial.
   26
   27
   28

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    1                                         COUNT IV
    2                       (Against Defendants PwC and Abrahams
                                for Negligent Misrepresentation)
    3
              104. Plaintiff incorporates ¶¶1-89.
    4
              105. Defendants’ audit reports and/or opinions misrepresented that Mattel’s
    5
        financial statements were fairly stated in all material respects and that effective
    6
        internal controls over financial reporting were in place when, in fact, the financial
    7
        statements were grossly misstated and the internal controls were deficient.
    8
              106. For the reasons set forth above, defendants PwC’s and Abrahams’
    9
        misrepresentations were negligent and grossly negligent. Defendants PwC and
   10
        Abrahams knew that Mattel and its investors would rely on their audit reports and
   11
        opinions. In justifiable reliance on the audit reports and opinions, Mattel was
   12
        deprived of the opportunity to take steps that it would have taken to mitigate losses if
   13
        the audit reports and opinions had been accurate and prepared in conformity with
   14
        applicable professional standards. Defendants PwC’s and Abrahams’ negligent and
   15
        grossly negligent misrepresentations proximately caused significant damage to Mattel
   16
        in an amount to be proven at trial.
   17
                                              COUNT V
   18
                            (Against Defendants PwC and Abrahams
   19                                for Unjust Enrichment)
   20         107. Plaintiff incorporates ¶¶1-89.
   21         108. By their wrongful acts and omissions, defendants PwC and Abrahams
   22 were unjustly enriched at the expense of and to the detriment of Mattel. Over the
   23 years, defendants PwC, together with its partners, including defendant Abrahams,
   24 have received substantial payments from Mattel for audit and audit-related services.
   25         109. Plaintiff, as a representative of the Company, seeks restitution from the
   26 defendants PwC and Abrahams, and seeks an order of this Court disgorging all profits,
   27 benefits and other compensation obtained by defendants, and each of them, because of
   28 their wrongful conduct detailed herein.

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    1                                        COUNT VI
    2                        (Against Defendants PwC and Abrahams
                                        for Contribution)
    3
              110. Plaintiff incorporates ¶¶1-89.
    4
              111. Mattel is named as a defendant in the Securities Action, and its liability
    5
        arises, in whole or in part, from the knowing, grossly negligent, and/or reckless acts or
    6
        omissions of defendants PwC and Abrahams alleged herein.
    7
              112. Accordingly, Mattel is entitled to all appropriate contribution and
    8
        indemnification from defendants PwC and Abrahams under state law.
    9
                                      PRAYER FOR RELIEF
   10
              WHEREFORE, plaintiff demands judgment as follows:
   11
              A.     Awarding money damages against all defendants, jointly and severally,
   12
        for all losses and damages suffered as a result of the acts and transactions complained
   13
        of herein, together with pre-judgment interest, to ensure defendants do not participate
   14
        therein or benefit thereby;
   15
              B.     Directing all defendants to account for all damages caused by them and
   16
        all profits they have obtained as a result of their unlawful conduct, including all the
   17
        payments of all fees and imposing a constructive trust thereon;
   18
              C.     Return of any and all fees paid to PwC for the audits challenged herein;
   19
              D.     Awarding punitive damages;
   20
              E.     Awarding costs and disbursements of this action, including reasonable
   21
        attorneys’, accountants’ and experts’ fees; and
   22
              F.     Granting such other and further relief as this Court may deem just and
   23
        proper.
   24
   25
   26
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    1                                   JURY DEMAND
    2        Plaintiff demands a trial by jury.
    3 DATED: October 27, 2021                      ROBBINS GELLER RUDMAN
                                                    & DOWD LLP
    4                                              TRAVIS E. DOWNS III (148274)
                                                   BENNY C. GOODMAN III (211302)
    5                                              ERIK W. LUEDEKE (249211)
    6
    7                                                        s/ Travis E. Downs III
                                                            TRAVIS E. DOWNS III
    8
                                                   655 West Broadway, Suite 1900
    9                                              San Diego, CA 92101
                                                   Telephone: 619/231-1058
   10                                              619/231-7423 (fax)
   11                                              ROBBINS GELLER RUDMAN
                                                    & DOWD LLP
   12                                              MARY K. BLASY
                                                   58 South Service Road, Suite 200
   13                                              Melville, NY 11747
                                                   Telephone: 631/367-7100
   14                                              631/367-1173 (fax)
   15                                              ASHERKELLY
                                                   MATTHEW I. HENZI
   16                                              25800 Northwestern Highway, Suite 1100
                                                   Southfield, MI 48075
   17                                              Telephone: 248/746-2710
                                                   248/747-2809 (fax)
   18
                                                   Attorneys for Plaintiff
   19
   20
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    1                                   VERIFICATION
    2
              I, TRAVIS E. DOWNS III, hereby declare the following:
    3
              1.    I am one of the attorneys for plaintiff City of Pontiac Police and Fire
    4
    5 Retirement System (“City of Pontiac”). This verification is based upon my personal
    6 knowledge, and I could competently testify to the statements contained herein if called
    7
      upon as a witness.
    8
    9       2.    I have knowledge of the facts alleged in the Verified Shareholder
   10 Derivative Complaint for Violations of the Federal Securities Laws, Professional
   11
      Malpractice, Gross Negligence, Unjust Enrichment and Contribution, and I believe
   12
   13 them to be true to the best of my information and belief.
   14         3.    I make this verification because plaintiff City of Pontiac is absent from
   15
        the County of San Diego where I maintain my office.
   16
   17         I declare under penalty of perjury under the laws of the United States of
   18 America that the foregoing is true and correct.
   19         Executed this 27th day of October, 2021, at San Diego, California.
   20
   21
                                                          s/ Travis E. Downs III
   22                                                    TRAVIS E. DOWNS III
   23
   24
   25
   26
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   28
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                         EXHIBIT A
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                                                         Boca Raton               Melville                      San Diego
                                                         Chicago                  Nashville                     San Francisco
                                                         Manhattan                Philadelphia                  Washington, D.C.



  Mary K. Blasy
  mblasy@rgrdlaw.com




                                                              March 3, 2020

                                                                                                     VIA OVERNIGHT DELIVERY

 Mattel, Inc. Board of Directors
 c/o Ynon Kreiz, Chairman
 Mattel, Inc.
 333 Continental Boulevard
 El Segundo, CA 90245-5012

            Re:        Demand to Commence Investigation and Litigation

 Dear Board Members:

         We write on behalf of the City of Pontiac Police and Fire Retirement System (“Pontiac”)
 Client, which is a shareholder of Mattel, Inc. (“Mattel” or the “Company”). This letter serves as a
 formal demand that the Mattel Board of Directors immediately investigate and commence legal
 action for compensatory, equitable, remedial and other relief against PricewaterhouseCoopers LLP
 (“PwC”) and its partner Joshua Abrahams (“Abrahams”) for negligence, breach of contract,
 professional malpractice and unjust enrichment.

        By way of background, in light of the critical importance of auditor independence, the
 Sarbanes-Oxley Act of 2002 mandated rotation after five years of the principal engagement partner
 overseeing a corporate client’s audits. Yet PwC has served as Mattel’s outside audit firm
 consistently since 1974.

         Mattel’s shareholders have been asked to, and have, ratified the reengagement of PwC as
 Mattel’s outside auditor for decades. And PwC had been handsomely rewarded as a result of this
 engagement, having been paid over $9.4 million per year for fiscal years 2017 and 2018 alone.
 However, shareholder approval was obtained only through subterfuge over the past couple of years
 because it was concealed from shareholders that PwC had been actively deceiving them as to
 Mattel’s actual financial results, the soundness of its financial reporting and internal controls; and
 that its financial statements were being prepared in compliance with Generally Accepted
 Accounting Principles (“GAAP”) and that PwC’s audits were being conducted in compliance with
 Generally Accepted Auditing Standards (“GAAS”).

        The U.S. Securities and Exchange Commission (“SEC”) has repeatedly emphasized that
 “maintaining the independence of auditors is crucial to the credibility of financial reporting.” As
 such, auditors and audit committees constantly – both before and during an engagement – must be


    5 8 Sou t h Ser vi ce Roa d   Su i te 200   M elvi lle, NY 1 1 7 47   Tel 631- 3 6 7 - 7 1 0 0    F a x 631 - 3 67 - 1 1 7 3   r gr dlaw.com
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 Mattel, Inc. Board of Directors
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 vigilant against impairment of their independence and devote substantial resources to verifying and
 maintaining that independence. The potential consequences to an issuer, such as Mattel, of
 violating auditor independence standards are severe. Violations may render previously filed
 financial statements noncompliant with the Securities Exchange Act of 1934 and related SEC rules,
 or they could adversely affect the timely filing of financial statements. A violation can also put an
 issuer in default on its financial covenants with lenders and can raise its costs of raising capital.

         In early 2018, certain Mattel finance executives discovered errors in the prior year’s
 accounting that had reduced its previously reported loss for the third quarter 2019 (“3Q19”), likely
 indicated that its internal controls were deficient, and would have been an embarrassment both to
 Mattel’s finance executives and PwC and its audit partner, Abrahams. The accounting
 misstatement arose out of Mattel’s ownership of Thomas & Friends, an animated children’s show
 about talking trains. The relevant members of Mattel’s finance team discussed fixing the problem
 and restating earnings, with the expectation that Mattel would have to admit to shortcomings in its
 accounting and reporting procedures.

        As has since been reported by the Wall Street Journal citing Brett Whitaker (“Whitaker”),
 who was Mattel’s director of tax reporting at that time, after the issue was reported internally,
 Mattel’s heads of accounting and internal control believed it was a material error that needed to be
 disclosed. However, Whitaker says that PwC took a different view, stating that: “A PwC partner
 told me that they were looking for a way to say this isn’t a material weakness.”

         According to Whitaker, “[i]nstead, senior finance executives and Mattel’s auditor,
 PricewaterhouseCoopers, decided to change the accounting treatment of the Thomas asset,
 effectively burying the problem.” They reportedly agreed to withhold the information from
 Mattel’s then-CEOs as well. According to Whitaker: “It was known within Mattel that if we took
 this approach, at worst we might get a slap on the wrist from the Securities and Exchange
 Commission,” “[b]ut if the company disclosed a material weakness, a senior executive said to me it
 would be ‘the kiss of death.’” Instead, Mattel, counseled by PwC, decided to reclassify the Thomas
 asset in a way that would have made its treatment in the third quarter 2017 (“3Q17”) correct, and
 recorded a tax expense in the fourth quarter 2017 (“4Q17”) that offset the earlier misstatement.
 Whitaker says that Mattel and PwC agreed that no restatement was needed.

        Whitaker resigned his positions with Mattel in March 2019.

         On August 2, 2019, PwC received a whistleblower complaint alleging falsification of
 Mattel’s historical financial statements, auditor independence rule violations and other possible
 misconduct. The receipt of the whistleblower letter, disclosed by Mattel on August 8, 2019,
 abruptly nixed the Company’s efforts then underway to raise much needed capital through a debt
 offering at the last minute.
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 Mattel, Inc. Board of Directors
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 Page 3


          In response to the whistleblower complaint, the Audit Committee of the Mattel Board of
 Directors, together with independent counsel from O’Melveny & Myers LLP and forensic
 accountants from FTI Consulting, undertook an investigation into potential past accounting errors in
 historical periods and whether Mattel’s outside auditor was independent. PwC purportedly
 conducted its own investigation and purportedly informed the Audit Committee that it had shared
 all relevant information with the Audit Committee.

         According to the Wall Street Journal, “Mr. Whitaker said he declined an invitation to give
 evidence to the internal investigation, adding that he told the company he had already provided the
 relevant information before he left.” Whitaker, who said he isn’t the August whistleblower, said
 that when Mattel didn’t restate earnings or admit to accounting problems in 2018, he believed it was
 a cover-up, stating: “My team was dumbfounded by it.” According to Whitaker, PwC was involved
 in the decision not to disclose the “error,” which the firm would have had to admit it missed.
 According to Whitaker: a PwC tax partner was “walking down the hall, high-fiving people, after
 this decision was made.”

        As disclosed on October 29, 2019, the Mattel Board’s Audit Committee investigation
 determined that:

        •       Mattel’s publicly-filed financial statements for the last two quarters of 2017 had
                contained “errors” that, due to an error calculating its tax valuation allowance,
                effectively understated Mattel’s income tax expense by $109 million in the 3Q17
                and overstated it by $109 million in the 4Q17;

        •       As a result of these “errors,” Mattel’s previously reported net loss of $603.3 million
                for the 3Q17 was understated by $109 million and the correct reported net loss for
                the 3Q17 ended September 30, 2017 should have been a net loss of $712.3 million;

        •       While a change in accounting for an intangible asset in the 4Q17 had resulted in an
                effective correction of the “error” for the fiscal 2017 annual results, the tax expense
                remained uncorrected in the 3Q17 quarterly report filed with the SEC on Form 10-Q
                and was therefore overstated in the interim period ended December 31, 2017, and as
                a result, Mattel’s previously reported loss of $281.3 million for the 4Q17 ended
                December 31, 2017 should have been reported as a net loss of $172.3 million;

        •       Mattel must now restate the Company’s financial results for the 3Q17 and 4Q17 and
                certain related information;
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        •       Mattel has also determined that in addition to the restatement of financial statements
                referred to above, Mattel will “revise 2019 and prior periods for certain other . . .
                out-of-period adjustments” that “are unrelated to the Letter or issues investigated by
                the Audit Committee”;

        •       Certain members of Mattel’s management had identified the 3Q17 accounting
                “error” associated with the tax valuation allowance during the year-end accounting
                closing procedures for fiscal 2017, but the “error was not properly assessed nor were
                findings and conclusions documented”;

        •       Mattel’s “management’s reliance on the accounting advice sought and received on
                the error from the lead audit engagement partner of” PwC, Abrahams, had
                “contributed to these failures”;

        •       Mattel had been operating with material weaknesses in its internal control over
                financial reporting at the time of the preparation of its financial statements for the
                3Q17 and 4Q17, rendering PwC’s attestation as that false and misleading as well;

        •       PwC had failed to properly consider and disclose the “errors” to Mattel’s then-Chief
                Executive Officer (“CEO”), Margaret Georgiadis, and the Audit Committee once
                they became known, and, as a result, they were not disclosed in Mattel’s fiscal 2017
                annual financial report filed with the SEC on Form 10-K; and

        •       PwC had violated the auditor independence rules by recommending candidates for
                Mattel’s senior finance positions.

         Moreover, in December 2019, the SEC subpoenaed records from Mattel concerning its
 investigation into the accounting errors discussed above. The U.S. Attorney for the Southern
 District of New York reportedly has also opened an investigation into the Company’s recent
 restatement and the departure of the Company’s former CFO.

         Mattel has been, and will continue to suffer severe damages, injuries and losses.
 Accordingly, Pontiac demands that the Mattel Board of Directors commence legal action against
 PwC and Abrahams for negligence, breach of contract, professional malpractice and unjust
 enrichment. The legal action must be tailored to ensure that any legal responsibility for this
 misconduct is borne by the responsible parties, and not Mattel. The action shall also seek
 disgorgement of the millions of dollars in audit fees PwC was paid, the costs of Mattel’s ongoing
 investigation and restatement, any fines or penalties Mattel may later be assessed as a result of the
 misconduct, and any increased costs of capital Mattel has experienced as a result of the misconduct,
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 including all costs incurred as a result of having to cancel the debt capital raise in August 2019 and
 any incremental costs/expenses it incurs doing the debt capital raise at a later date. Damages shall
 also be sought for the impairment of Mattel’s reputation.

       In making the foregoing demands, Pontiac does not concede that the Board of Directors or
 any member thereof is independent or competent to consider these demands.

        We appreciate your prompt attention to this serious matter. Should you have any requests,
 questions or concerns, please do not hesitate to contact us.

                                              Sincerely,



                                              Mary K. Blasy
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 To:               Debbie Hayes
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                                                    Mattel, Inc. Board of Directors
       Ship To:                                     333 CONTINENTAL BLVD
                                                    EL SEGUNDO, CA 90245
                                                    US
       UPS Service:                                 UPS NEXT DAY AIR
       Number of Packages:                          1
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       Reference Number 2:                          90587
       Reference Number 3:                          Mattel, Inc.




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